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                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                  Plaintiff,
     vs.                                  Case No. 04-40168-02/03-RDR

JEFF BARNHART and
MARLON CARROLL,

                  Defendants.


                         MEMORANDUM AND ORDER

     Defendants Jeff Barnhart and Marlon Carroll are before the

court upon a ten-count indictment which alleges, in general, a

conspiracy to manufacture and distribute methamphetamine. There

is a third defendant in this case, Rebecca Barnhart, who has not

appeared.    This case is now before the court upon the pretrial

motions of Jeff Barnhart and Marlon Carroll.                   The court has

conducted an evidentiary hearing upon defendants’ motions to

dismiss    and   defendant    Carroll’s      motion   to   suppress     and   is

prepared to rule.     The court shall also issue rulings upon other

motions which have not required evidence or argument.

I.   PENDING MOTIONS WHICH DID NOT REQUIRE ARGUMENT OR EVIDENCE

     Motions to join (Doc. Nos. 28 and 36)

     These motions shall be granted to the extent that defendants

Barnhart and Carroll have standing to bring the motions they

seek to join.
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    Motion for discovery and notice (Doc. No. 27)

    The court shall direct that the government give defendants

the notice required under Rules 404(b), 609 and 807, seven days

prior to the trial date of this case.

    Motion to disclose expert testimony (Doc. No. 29)

    The motion shall be considered moot on the basis of the

disclosure filed by the government.

    Motion to sever defendants (Doc. No. 32)

    The court shall take this motion under advisement.              The key

evidence as to this motion appears to be a statement from

defendant Jeff Barnhart.      The government is directed to submit

that statement to the court with proposed redactions.             The court

will decide the motion to sever after considering the statement

and the proposed redactions.

    Motion for notice of co-conspirator statements (Doc. No.

    31)    This motion shall be considered moot.

II. DEFENDANT CARROLL’S AND DEFENDANT JEFF BARNHART’S MOTIONS
TO DISMISS (Doc. Nos. 34 and 35)

    Related proceedings

    There is a somewhat complicated multi-jurisdictional history

which shall be summarized as a background to the motions to

dismiss.

    The counts of this federal indictment involve conduct from

November 10, 2001 through February 11, 2003.                The indictment

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alleges    that    defendants     were    involved     in   a    methamphetamine

manufacturing and distribution operation in Northeast Kansas.

It is alleged that the methamphetamine was made in Brown County,

Kansas at or around a trucking company location.                   It is further

alleged that the precursor chemicals were purchased and the

final product was distributed in the surrounding area, including

Doniphan County, Kansas and Buchanan County, Missouri.

     Charges against defendant Carroll were brought previously

in      Buchanan    County,      Missouri;     Brown   County,      Kansas;      and

Doniphan County, Kansas.           The charges in Doniphan County were

dismissed because charges were filed in Brown County.                            The

charges in Brown County were dismissed on December 6, 2004 in

anticipation of the federal charges filed herein on December 29,

2004.

     The Buchanan County, Missouri case against defendant Carroll

arose from the purchase of precursor chemicals in St. Joseph,

Missouri.    The case resulted in a plea of guilty on May 24,

2004.     Defendant Carroll was sentenced to probation by the

Missouri    court    in   July    2004.       Defendant     Carroll    had   spent

several months in jail pending trial and sentence prior to

receiving probation.

     Charges against Jeff Barnhart in this matter were brought

in Brown County on April 17, 2003.             A plea agreement was reached


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on November 26, 2003.           The agreement anticipated a sentence of

72 months.       This was the sentence, but defendant appealed.                      The

government asserts that the appeal violated the plea agreement.

The appeal sought to take advantage of a recent holding with

regard to sentencing of methamphetamine crimes in Kansas state

courts.     See State v. McAdam, 83 P.3d 161 (Kan. Jan. 30, 2004).

The appeal was filed February 19, 2004.                       Defendant Barnhart

prevailed upon his appeal and the case was remanded.                      Defendant

Barnhart was indicted in this case on December 29, 2004.                            His

state case in Brown County was dismissed on January 19, 2005.

      Defendant Carroll’s motion to dismiss (Doc. No. 34)

      Defendant Carroll raises several arguments for dismissal on

the basis of the multiple prosecutions he has faced in this

matter.       The court heard testimony from:              Kevin Hill, the Brown

County Attorney; Dawn Williams, the former assistant prosecutor

for Buchanan County, Missouri; Jeff Stevens, counsel for Marlon

Carroll in Buchanan County; and Steven Maxwell, an attorney for

the   State    of    Kansas    Attorney       General’s     Office     and   Special

Assistant United States Attorney for the District of Kansas

assigned to the prosecution of the case at bar.                           From this

testimony      and    the    exhibits     admitted,       the   court    makes       the

following factual findings.                    Prior to February 11, 2003,

Kevin     Hill      and     Brown    County       law   enforcement       had       been


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investigating    an    alleged     methamphetamine        manufacturing           and

distribution operation involving members of the Barnhart family

and others in Brown County, Kansas and the surrounding area.                       It

was a major investigation in Hill’s opinion.                     On February 11,

2003, the investigation reached a turning point when persons

allegedly    involved    in     the     methamphetamine          operation       were

detected buying and/or shoplifting precursor materials in St.

Joseph, Missouri.       These persons were pursued across the state

line and arrested in Doniphan County, Kansas.                      One of these

persons was defendant Marlon Carroll.                 Charges were filed in

Doniphan    County,    Kansas.        But,    these   charges      were   dropped

shortly after charges were brought in Brown County and Buchanan

County, Missouri.

      During the investigation of the case, Kevin Hill asked for

help from the Kansas Attorney General’s Office.                  Steven Maxwell,

an   attorney   in    that    office,    was   assigned      to    assist    Hill.

Maxwell helped to draft the second amended complaint that was

filed in the Brown County case.              He swore to it and signed it.

He was also involved in a preliminary hearing and in plea

negotiations.

      Plea negotiations regarding the Brown County charges against

Marlon Carroll involved Kevin Hill and Steve Maxwell.                   They were

willing to recommend a sentence of 96 months for Carroll in


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return for a plea of guilty, debriefing, and cooperation against

other   defendants.      Carroll    did    not    accept     this    offer.

Negotiations with Carroll in Kansas and Missouri had the goal of

wrapping up both cases.        Carroll faced the possibility of a

lengthy sentence in Missouri.           If he was certified by the

Buchanan County prosecutor as a prior persistent felon, his

sentence there could have been enhanced to twenty years.

    Maxwell was appointed as a Special Assistant United States

Attorney on January 24, 2004.          Maxwell’s connection with the

case ceased for a time in April 2004 because he was deployed to

Iraq.   He was not available for consultation while in Iraq.

    On January 30, 2004, the Kansas Supreme Court issued its

opinion in State v. McAdam, 83 P.3d 161 (Kan. 2004).                       This

opinion held that persons convicted of methamphetamine crimes in

Kansas could be sentenced only under a lesser penalty provision

of the Kansas statutes.      This significantly reduced the possible

sentence which Carroll might receive in Kansas state court.

    On May 24, 2004, an oral plea agreement was reached between

Carroll and the Buchanan County prosecutor, Dawn Williams.                 This

was an “open” plea agreement, meaning that no specific length of

sentence was recommended or expected.            At the hearing where

Carroll pleaded guilty, Williams stated that she:

    “had spoke to Kevin Hill . . . [and that] it was my
    understanding from Doniphan County and that area in

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    Kansas that they had no interest in pursuing Mr.
    Carroll for a variety of reasons. That if he were to
    enter a plea of guilty in this jurisdiction to the
    conspiracy that they were not going to pursue anything
    in their jurisdiction. And I say that on the record
    for   Mr.   Carroll’s   benefit   because   that   was
    communicated to me.”

At the July 1, 2004 sentencing hearing in Buchanan County,

Carroll asked for probation; the prosecutor asked for a four-

year sentence.     The judge, following the recommendation of the

presentence report, sentenced Carroll to probation.

    When Kevin Hill learned that Carroll was sentenced to

probation in Missouri, he was upset.           Carroll’s sentence was

significantly less than what was received by other members of

the alleged methamphetamine operation who did not cooperate with

the prosecution.     Hill decided to require Carroll to return to

Brown County for prosecution upon the complaint filed there.

    After Carroll was returned to Kansas, the prosecution of the

Brown County charges continued.            However, these charges were

dismissed on December 6, 2004 in anticipation that federal

charges would be brought against Carroll.           By this time, Steven

Maxwell had returned to Kansas from Iraq.               Currently, he is

helping lead the prosecution of the federal charges on behalf of

the United States.    The greater penalties under federal law were

the motivation for bringing federal charges against Carroll.

    There is a dispute between Dawn Williams, Kevin Hill and


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Steven Maxwell regarding the substance of conversations they had

about Marlon Carroll.           Williams testified that she understood

from Hill that Kansas authorities would not be interested in

prosecuting Carroll if he pleaded guilty and was sentenced in

Missouri.       She also testified that Maxwell told her that Carroll

would not be prosecuted federally.                    Hill testified that he gave

Williams no authority to bind the State of Kansas and that he

told Williams only that he doubted the Kansas prosecution of

Carroll would be pursued if Carroll received a lengthy sentence.

Maxwell denied that he told Williams that Carroll would not be

prosecuted       federally.      It    is       undisputed       among       the    various

witnesses, including Carroll’s attorney in Missouri, that no one

told    or   promised   Carroll       that       he    would     not    be     prosecuted

federally.

       Defendant Carroll’s first argument in his motion to dismiss

is that this court should honor and enforce the terms of the

Missouri     plea    agreement        by        dismissing       this     prosecution.

Defendant Carroll contends that the understanding he had of the

plea agreement was that he would not be prosecuted in Kansas and

that     this     federal     prosecution             breaches     that        agreement.

Defendant Carroll cites that well-established principle that

plea    agreements    are   to   be    construed          according       to       contract

principles.       U.S. v. Cooper, 70 F.3d 563, 565 (10th Cir. 1995).


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    The evidence in this case, however, is that no one promised

defendant Carroll that he would not be prosecuted federally.

Hence, there is no evidentiary basis for a claim that the plea

agreement contained an understanding that federal charges would

not be brought.      Moreover, the law is clear that the federal

government is not bound by the terms of a state court plea

agreement.    See Hendrix v. Norris, 81 F.3d 805, 807 (8th Cir.

1996); U.S. v. Cordova-Perez, 65 F.3d 1552, 1554 (9th Cir. 1995)

cert. denied, 519 U.S. 838 (1996); U.S. v. Allen, 930 F.2d 1270,

1274 (7th Cir. 1991); U.S. v. Roberson, 872 F.2d 597, 611 (5 th

Cir.) cert. denied, 493 U.S. 861 (1989).            It may be asserted

that Maxwell’s designation as a Special Assistant United States

Attorney is evidence of the federal government’s involvement in

the Missouri plea agreement.       But, Maxwell was in Iraq at the

time the plea agreement was reached in Missouri.                 He was not a

party to the plea discussions in Missouri or the conversations

between the prosecutors in Missouri and Kansas at and around the

time of the plea agreement.     At that time, the decision to bring

federal charges had not been made and would not be made for

several    months.   To   reiterate,   the   evidence       is    clear    from

defendant Carroll’s attorney in Missouri that no promise was

made to defendant Carroll that federal charges would not be

brought.     Therefore, we find no basis to conclude that the


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United States had adopted the Brown County prosecution or was a

party to the plea discussions.                         The Missouri plea agreement

offers    no       basis    to    dismiss          this      prosecution      because       this

prosecution does not breach the Missouri plea agreement.

      Defendant Carroll next argues that the court should employ

the doctrine of judicial estoppel to terminate this prosecution.

The   doctrine        relied      on     by       defendant      Carroll      states      that,

“[W]here       a    party    assumes          a    certain       position     in     a    legal

proceeding, and succeeds in maintaining that position, he may

not   thereafter,          simply      because         his    interests     have     changed,

assume a contrary position, especially if it be to the prejudice

of the party who has acquiesced in the position formerly taken

by him.”           New Hampshire v. Maine, 532 U.S. 742, 749 (2001)

(quoting, Davis v. Wakelee, 156 U.S. 680, 689 (1895)).                                      That

doctrine does not apply to bar this prosecution by the federal

government         because       the    federal        government       did    not       take   a

position in the Missouri proceedings and defendant Carroll did

not rely upon a promise or position that the federal government

would not prosecute him in Kansas.                        There is also a broad public

interest in enforcing federal drug laws which leans against a

finding of estoppel.              Id. at 755.           Therefore, the court rejects

defendant Carroll’s judicial estoppel argument.

      Next,        defendant      Carroll         asserts      that    this    prosecution


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violates his due process rights.                    Defendant cites          Tucker v.

Makowski, 883 F.2d 877 (10th Cir. 1989) where the court remanded

a case upon review of a habeas petition for consideration of

whether     successive        trials     on    robbery    and   kidnaping       charges

arising        from     the   same    criminal       transaction        violated       the

petitioner’s due process or “fundamental fairness” rights.

       In this case, although defendant Carroll has been charged

in four different jurisdictions, he has not had a trial and in

two jurisdictions the charges have been dismissed.                              He has

pleaded guilty to a conspiracy charge in the State of Missouri,

but the instant federal indictment includes charges which allege

conduct at a different date than what was alleged in Missouri.

So, factually, this case is distinguishable from the Tucker case

cited by defendant Carroll.                   Moreover, the dual sovereignty

doctrine provides a legal basis to distinguish this case from

Tucker.        See U.S. v. Bafia, 949 F.2d 1465, 1479 (7th Cir. 1991)

(that a state and the federal government may prosecute and

convict a defendant for essentially the same conduct “is no

affront to the Fifth Amendment.”); U.S. v. Andersen, 940 F.2d

593,     596    (10th    Cir.   1991)     (“a      defendant     may    be   indicted,

prosecuted and convicted in federal court for illegal conduct

punishable under a federal statute even after a state court has

convicted        defendant      under     a    state     statute       for   the   same


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conduct.”).      Of course, the rationale of the dual sovereignty

doctrine also applies to the dual prosecution of defendant

Carroll in the State of Kansas and the State of Missouri.

    Defendant Carroll asserts that the dual sovereignty doctrine

should not be applied in this case because of the federal/state

cooperation in bringing the cases in Kansas.                   We reject this

argument.      Steven Maxwell was assigned from the State of Kansas

Attorney General’s Office to assist in the investigation of this

case.   He rendered assistance through 2003 as an attorney for

the State of Kansas.      In the Fall of 2003 he made application to

be designated as a Special Assistant United States Attorney.

This was approved in January 2004.              However, Maxwell did not

work on the case as a federal prosecutor and took a leave of

absence when he was deployed to Iraq in April 2004.                        After

defendant Carroll was sentenced to probation in July 2004, the

Brown   County    prosecutor,     Kevin    Hill,    made    arrangements        for

defendant Carroll to appear in Brown County upon a bench warrant

on July 6, 2004.        The case was set for trial on September 7,

2004 but was continued on defendant Carroll’s motion.                 According

to Hill’s affidavit (Exhibit C-411), Hill spoke with Maxwell

(back   from    Iraq)   while    preparing    for   trial      in   October     and

November 2004.      At that time, Maxwell told Hill that federal

authorities might be willing to prosecute Carroll in federal


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court.   When this was confirmed, Hill moved to dismiss the state

charges on December 6, 2004 and federal charges were filed on

December 29, 2004.

    The court finds no significant federal involvement in the

Brown County prosecution.        The investigation leading to the

prosecution of the state charges was a state endeavor.                It was

not a sham for a federal prosecution.          Conversely, there is no

evidence that the State of Kansas coopted the federal decision-

making process for bringing this indictment.            The fact that the

federal government is working from the state investigation to

bring this indictment or that the same attorney has worked on

both prosecutions does not defeat the dual sovereignty doctrine

or prove double jeopardy.     U.S. v. Trammell, 133 F.3d 1343, 1350

(10th Cir. 1998).      Therefore, the court rejects defendant’s

attack upon the dual sovereignty doctrine and defendant’s claims

of double jeopardy.

    Defendant Carroll next argues that this case should be

dismissed as a vindictive prosecution.         We reject this claim as

well.    As the Tenth Circuit stated in Andersen:

    Although a prosecutor obviously cannot base charging
    decisions on a defendant’s race, sex, religion, or
    exercise of a statutory or constitutional right, see
    Wayte v. United States, 470 U.S. 598, 608, 105 S.Ct.
    1524, 1531, 84 L.Ed.2d 547 (1985), “so long as the
    prosecutor has probable cause to believe that the
    accused committed an offense defined by statute, the
    decision whether or not to prosecute, and what charge

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       to file . . . generally rests entirely in his
       discretion.”   Bordenkircher v. Hayes, 434 U.S. 357,
       364, 98 S.Ct. 663, 668, 54 L.Ed.2d 604 (1978)
       (footnote omitted).
            When the evidence supports prosecution under
       different   statutes,    “[t]he   prosecutor  may   be
       influenced by the penalties available upon conviction,
       but this fact, standing alone, does not give rise to
       a violation of the Equal Protection or Due Process
       Clause.” United States v. Batchelder, 442 U.S. 114,
       125, 99 S.Ct. 2198, 2205, 60 L.Ed.2d 755 (1979). See
       also United States v. Thomas, 884 F.2d 540, 544 (10th
       Cir. 1989). . . .
            Other courts have rejected due process challenges
       similar to that before us now, holding that a
       prosecutor’s decision to transfer a case from state to
       federal court, thereby subjecting the defendant to a
       much harsher potential penalty, does not violate the
       Constitution.     See United States v. Frankel, 739
       F.Supp. 629, 630 (D.D.C. 1990); United States v.
       Smith, 727 F.Supp. 1023, 1024-25 (W.D.Va. 1990). See
       also United States v. Raymer, 941 F.2d 1031, 1042 (10th
       Cir.   1991)    (without    raising   presumption   of
       vindictiveness, state prosecutor may notify defendant
       who declines to plea guilty that his case will be
       transferred to federal authorities).

940 F.2d at 596.

       In this case, contrary to Carroll’s contention, the evidence

does     not    prove   that    this   prosecution    was       brought   because

defendant Carroll exercised his right to enter a plea agreement

in Missouri.        This prosecution was brought because defendant

Carroll received what was perceived to be a light sentence in

Missouri, and the McAdam case may have significantly shortened

the possible sentence from a Kansas state court.                    As noted in

the     above    excerpt   from    Andersen,     federal        prosecutors      are

entitled to bring charges when there is a substantial federal

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interest in the subject matter (as there is in this case) and

when federal penalties are considered more appropriate.                               See

also U.S. v. Raymer, 941 F.2d 1031, 1043 (10th Cir. 1991).                            The

circumstances of this case do not support a presumption of

vindictive       prosecution,      nor        is     there        proof     of   actual

vindictiveness.          Therefore,        the       court        rejects    defendant

Carroll’s claim of vindictive prosecution.

     Finally, defendant Carroll contends that the government has

failed to comply with its own policy of deferring to a previous

state prosecution of a criminal matter.                     However, as defendant

admits,     this    policy       confers       no        rights    against       federal

prosecution.       Raymer, 941 F.2d at 1037; U.S. v. Thompson, 579

F.2d 1184, 1188-89 (10th Cir.) cert. denied, 439 U.S. 896 (1978).

Therefore, it provides no grounds to dismiss this prosecution.

     For the above-stated reasons, the court shall deny defendant

Carroll’s       motion   to   dismiss.             The    court’s     decision      upon

defendant Carroll’s due process/double jeopardy and vindictive

prosecution arguments is also bolstered by our decision upon

defendant Barnhart’s motion to dismiss.

     Defendant Barnhart’s motion to dismiss (Doc. No. 35)

     In addition to the factual findings made previously in this

order,    the    court   makes    the    following          findings      relative    to

defendant Jeff Barnhart’s motion to dismiss.


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       Jeff Barnhart entered an oral plea agreement with the State

of Kansas in the case filed in Brown County.                 That agreement was

that    he    would   plead     guilty    to   one   count   of   conspiracy      to

manufacture methamphetamine and that he and the State of Kansas

would recommend a sentence of 72 months, which at the time of

the agreement would be a downward departure under the State

guideline sentencing system.             His guilty plea was taken pursuant

to that agreement on November 26, 2003.                   This was before the

McAdam case was decided.

       Defendant Barnhart was sentenced on February 27, 2004. This

was after the McAdam case was decided.                 Because of the McAdam

case, defense counsel requested that defendant be sentenced

under the more lenient penalties ordered in the McAdam case.

The State argued that this in effect released the State from the

plea agreement because defendant was advocating a sentence less

than 72 months.        The court sentenced defendant to 72 months in

accordance with the plea agreement.                  Defendant appealed this

sentence and prevailed.           On July 13, 2004, the Kansas Court of

Appeals remanded his case for resentencing pursuant to State v.

Barnes, 92 P.3d 578 (2004) which was a case in line with the

McAdam decision.

       On remand, the State asked that the plea of guilty be set

aside.       This request was granted on September 21, 2004 and the


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case was set for trial.          Rather than have the trial, the State

decided to dismiss the case against defendant Barnhart in favor

of this prosecution.           This case was filed December 29, 2004.

The state case was dismissed without prejudice on January 19,

2005.

      Two members of the Barnhart family (Chris Barnhart and Tobey

Barnhart) were prosecuted in Kansas state court and received

sentences of 120 months and 132 months.                 They have not been

prosecuted by the federal government.                The three defendants

listed in the case at bar were prosecuted at the state level,

but did not receive or did not appear likely to receive a

lengthy sentence.        Two other persons (Cindy Herrera and Bo

Kearns), who were arrested as part of the alleged conspiracy,

did not receive significant punishment in state court and are

not being prosecuted in this case.            But, Kearns is a juvenile

and   both   persons    cooperated     with   law    enforcement      agencies

investigating and prosecuting this case.

      Defendant Jeff Barnhart makes two arguments in favor of

dismissal.      First, he argues double jeopardy.              He understands

that the United States is bringing the case at bar and that the

State of Kansas brought the case in Brown County.                      But, he

insists that the line between the federal government and the

State of Kansas is too diluted to permit the dual sovereignty


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doctrine to defeat his double jeopardy claim.

      The question becomes whether this federal prosecution is a

sham for the initial state prosecution.                 This question is not

answered by the fact that the state may have referred this case

to the federal government for prosecution.                   U.S. v. Leathers,

354 F.3d 955, 960 (8th Cir.) cert. denied, 125 S.Ct. 285 (2004)

(referrals and cooperation between state and federal officials

are “commonplace and welcome.”).           The issue is whether the state

has    “‘effectively      manipulated      the     actions        of    the     federal

government, so that the federal officials retained little or no

independent volition.’” Id., quoting U.S. v. 38 Whalers Cove

Drive, 954 F.2d 29, 38 (2nd Cir.), cert. denied, 506 U.S. 815

(1992).    While this case originated as a state investigation and

prosecution, there is no evidence that the volition of the

federal    government     was   controlled       by   the    State       of     Kansas.

Steven    Maxwell   was    made   a   Special      Assistant           United    States

Attorney in January 2004.          At that time, he could have sought

permission to bring federal charges against Jeff Barnhart.                           He

did not, although he may have considered it.                  See affidavit of

Carl Cornwell attached to defendant’s motion to dismiss.                            The

matter continued as a state case.             Maxwell did not work on this

case as a federal prosecution until late 2004 after returning

from Iraq and learning that Barnhart’s 72-month sentence had


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been overturned on appeal and that the case was set for trial in

Brown   County.    At   that   point,      the   federal      government      was

entitled to determine whether the federal interest in drug

crimes enforcement was being properly served.                 This was not a

sham prosecution and the dual sovereignty applies to defeat the

claim of double jeopardy.          See U.S. v. Padilla, 589 F.2d 481,

484 (10th Cir. 1978) (federal prosecution led by former member of

county attorney’s office who brought prior state charges arising

from same incident is not barred by double jeopardy); see also,

U.S. v. Vigil, 743 F.2d 751, 760 (10th Cir.) cert. denied, 469

U.S. 1090 (1984) (double jeopardy does not bar two sovereigns

from bringing similar charges).

     Defendant Barnhart also contends that this case should be

dismissed   because     it   was    brought      in   retaliation      against

defendant’s exercise of his right to appeal his state conviction

and therefore is a vindictive prosecution.               Defendant has the

burden of proving this argument.          U.S. v. Carter, 130 F.3d 1432,

1443 (10th Cir. 1997) cert. denied, 523 U.S. 1144 (1998).

     To establish a claim of prosecutorial vindictiveness,
     “the   defendant  must   prove   either  (1)   actual
     vindictiveness, or (2) a reasonable likelihood of
     vindictiveness which then raises a presumption of
     vindictiveness.” If defendant can meet this burden,
     the prosecution must justify its decision with
     legitimate, articulable, objective reasons. However,
     if defendant cannot meet this burden, a reviewing
     court need not reach the issue of the government’s
     justification.

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Id., quoting and citing U.S. v. Contreras, 108 F.3d 1255, 1262-3

(10th Cir. 1997)).

     Here, we do not believe defendant has satisfied his burden

of proving actual or presumptive vindictiveness.                    The court

believes    the     federal   government     accepted        this   case      for

prosecution not because defendant Barnhart exercised a right of

appeal, but because there was a change in Kansas law which

reduced    the    penalties   defendant     Barnhart     would      face   upon

conviction.       This does not implicate defendant’s right to due

process or right against vindictive prosecution.                Leathers, 354

F.3d at 962; see also, U.S. v. Kriens, 270 F.3d 597, 602 (8th

Cir. 2001) cert. denied, 535 U.S. 1008 (2002) (no presumption of

vindictiveness      from   decision    to   prosecute        federally     after

defendant refused to plead guilty in state court); U.S. v.

Spears, 159 F.3d 1081, 1086-87 (7th Cir. 1998) cert. denied, 528

U.S. 896 (1999) (the fact that a federal prosecution occurred

after an unfavorable state court result does not in and of

itself demonstrate vindictiveness on the part of the federal

prosecutor); U.S. v. Stokes, 124 F.3d 39 (1st Cir. 1997) cert.

denied, 522 U.S. 1139 (1998) (government decision to wait to

bring charges until it is disappointed by result in a state

proceeding does not produce a presumption of vindictiveness);

see generally, Raymer, 941 F.2d at 1041 (federal courts have


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repeatedly rejected the idea that federal prosecution after

state proceedings constitutes vindictive prosecution).

       The evidence in this case indicates that there was a plea

agreement       to   resolve    the    state         charges    against      defendant

Barnhart in return for a joint recommendation of a 72-month

sentence.       The state district court held that the agreement was

breached when defendant advocated that a more lenient sentence

be imposed in accordance with new Kansas case law and                              then

appealed his sentence on that basis.                     The federal government

decided to prosecute this matter after the potential penalty at

the state level was significantly reduced as to defendant Jeff

Barnhart.       The federal government did not join as defendants in

this case those alleged members of the conspiracy who already

received lengthy state prison sentences or who cooperated with

law enforcement.          The government’s motivation to secure a severe

penalty         against      persons        alleged        to        have    committed

methamphetamine         offenses   does      not     amount     to    presumptive      or

actual vindictive prosecution.

       For these reasons, defendant Barnhart’s motion to dismiss

shall be denied.          The court’s decision upon defendant Barnhart’s

motion     is    also     bolstered    by      our    decision        upon   defendant

Carroll’s motion to dismiss.

III.     DEFENDANT CARROLL’S MOTION TO SUPPRESS (Doc. No. 33)


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    This motion asserts that defendant Carroll was illegally

interrogated without counsel on February 13 and 14, 2003 after

he had been arrested, requested appointment of counsel and had

counsel appointed.

    The court has heard the testimony of Brian Everhart of the

Brown County Sheriff’s Office and watched a videotape of his

interview of Marlon Carroll on February 13, 2003.                      The sound

quality on the videotape is not good.                    A transcript of the

videotape   has    been   admitted    as    an     exhibit      and   Everhart’s

narrative report regarding his two interviews has also been

admitted.   Further, the court has examined a written waiver of

rights which defendant Carroll signed on February 13, 2003.

    It is undisputed that Carroll was arrested in Doniphan

County on February 11, 2003 and was appointed counsel.                  Everhart

attempted   to    interview   Carroll      while    he    was   in    custody   in

Doniphan County.     Carroll requested counsel and that terminated

the interview.     By February 13, 2003, Carroll had been taken to

the Brown County Jail.        Cindy Herrera, a woman arrested with

Carroll, communicated to Everhart that Carroll wanted to talk

with him.    Everhart arranged for Carroll to be brought to an

interview room.       He made contact with Carroll and asked if

Carroll wished to speak with Everhart without his attorney

present.    Carroll confirmed his desire to talk and stated that


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he wasn’t bothered by his attorney’s absence.                     Carroll was then

advised of his rights under the Miranda decision, signed a

written waiver of those rights, and answered questions from

Everhart.

     The following day, Everhart was again informed that Carroll

wished to speak to him.            Everhart met with Carroll and asked

once more whether Carroll desired to talk without his attorney

present.     Carroll answered affirmatively.

     The Supreme Court has held that “when counsel is requested,

interrogation     must    cease,    and       officials   may      not    reinitiate

interrogation     without     counsel         present,    whether        or   not   the

accused     has   consulted    with       his     attorney.”             Minnick    v.

Mississippi, 498 U.S. 146, 153 (1990).                In Edwards v. Arizona,

451 U.S. 477, 484-85 (1981), the Court stated:

     [A]n accused, . . . having expressed his desire to
     deal with the police only through counsel, is not
     subject to further interrogation by the authorities
     until counsel has been made available to him, unless
     the accused himself initiates further communications,
     exchanges, or conversations with the police.

The mere fact that the accused responded to further police-

initiated interrogation, even if he has been advised of his

rights, is insufficient to constitute a valid waiver.                         Edwards,

451 U.S. at 484.       The accused, however, may voluntarily waive

his Fifth Amendment rights after invoking the right to counsel

if   he    initiates     contact    or    discussion        with     authorities.

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Minnick, 498 U.S. at 156; Edwards, 451 U.S. at 485.

       After review of the evidence and testimony in this case, we

find that defendant Carroll initiated contact and discussion

with Brian Everhart on February 13 and February 14, 2003 and

that he waived his Fifth Amendment right not to answer questions

or give a statement.          See U.S. v. Obregon, 748 F.2d 1371, 1380-

81    (10th   Cir.   1984).      Therefore,    we   shall      deny   defendant

Carroll’s motion to suppress.

IV.     CONCLUSION

       The motions to dismiss of defendants Jeff Barnhart and

Marlon Carroll are denied.          The motion to suppress of defendant

Carroll is denied.        The court shall take the motion to sever

under    advisement    pending     the   government’s       submission     of   a

proposed redacted statement.             The other pending motions are

decided in accordance with the text of this order.

       IT IS SO ORDERED.

       Dated this 5th day of July, 2005 at Topeka, Kansas.



                                     s/Richard D. Rogers
                                     United States District Judge




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